         Case 2:18-cv-03854-PBT Document 1 Filed 09/07/18 Page 1 of 26




                           CNITED ST ATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVA~IA

 PAI'.\!AWAY Al)STRALIA PTY                  )
 LIMITED AC.'.\: 151 146 977,                )
                                             )
         Plamt1ff,                           )

         v
                                             )
                                             )
                                             )
                                                     Case No ..      \ [)0J $D~
 MAXRELIEF USA, l'.\!C                       )

         Defendant.
                                             )                                               FILED
                                             )
                                                                                            SEP 0 7 2018
                                         COMPLAINT                                     ~KATI:~ta.~~'
                                                                                       ~------....i~·Clif~
         Pamaway Australia Pty Limited ACN 151 146 977 ("'Pamaway") states as follows for its

Complamt agamst Defendant, MaxRehef CSA, Inc. ("MaxRehef'):

                                PRELIMl~ARY       STATEMENT

                 Pamaway 1s an Australian company that produces a pam rehef spray and cream

Pamaway 1s the market leader m Australia for such products.        MaxRelief 1s a Cmtcd States

company that also produces a pam relief spray and cream, and sells its products m the Cmted

States   In connect10n therewith, MaxRelief markets its products in the lJmtcd States through its

wehs1te, and through media platforms that sell MaxRehefs products. MaxRehef markets its pam

rchef cream and spray products as "Australia's #l" products.         (Exh1h1t "A")     However,

MaxRehef s pam relief cream and its pam rehef spray are not sold m Australia             In fact,

Max Relief does not sell any products m Australia. Therefore, Max Reliefs advert1smg 1s false,

and m v10lat10n of Sect10n 43(a) of the Lanham Act, 15 lJ S.C. § 1125(a)

                                            PARTIES

         2       Pamaway has its pnnc1pal place ofbusmess at Level 17,175 Pitt Sydney, '.\!SW,

Australia    Pamaway manufactures and distributes w1thm Australia a range of arthnt1s and pam
           Case 2:18-cv-03854-PBT Document 1 Filed 09/07/18 Page 2 of 26




relief spray, cream and roll-on products under the brand name Pamaway, which 1s the market

leader m Australia It 1s an Australian owned and operated company. It sells its products off the

shelf m Australian pharmacies, grocery stores, supermarkets, and health food stores Its products

are registered with the Therapeutic Goods Admm1strat10n (the 'TGA"), which is Australia's

regulatory agency for medical drugs and devices.

           3.   On mformat10n and behef, MaxRehef 1s a Delaware corporation, with a pnnc1pal

place of busmess at 131 Fa1rfax Street, Denver, Colorado, 80220. MaxRehef markets its products

through its website   '?/WW   maxrehef us{ and www .maxreh~f com/, and also on various onlme

shoppmg platforms such as ebay.com, amazon com, and walgreens.com. MaxRehef add1t10nally

sells its products through vanous pharmacies m Pennsylvama

                                  JURISDICTION AND VENUE

           4.   '.'vlaxRelief has engaged m the transact10n of busmess and committed the acts

complamed of herem m mterstate commerce and m the Eastern District of Pennsylvama. This

Court has JUnsd1ct1on pursuant to 15 lJ S C § 1121 and 28 C.S.C. § 1331 and l 338(b ).

           5.   Venue ts appropnate m this Court pursuant to 28 U.S C. § 139l(b)(l) because the

acts alleged m the Complamt occurred m this d1stnct

                                   FACTl;AL ALLEGATIONS

           6.   For many years, Pamaway has manufactured and distnbuted w1thm Australia and

elsewhere, mcludmg the Umted States, a vanety of arthrltls and sports pam relief spray, cream,

 tablets, capsules, and roll-on products under the brand name Pamaway. The Pamaway products

 have been the market leader m    Au~traha   for a number of years

           7    Pamaway's product-> are registered with the TCiA




 5122544
                                                   2
           Case 2:18-cv-03854-PBT Document 1 Filed 09/07/18 Page 3 of 26




           8.    In 2012, an Australian company named Natures Investments Holdmg Pty Ltd.

(''Natures Investments") filed an apphcauon with the Cmted States Patent and Trademark Office

to trademark a stylized rendition of the words "MAXRehef' with a stylized leaf replacmg the dot

above the "i", and a thick, bold chevron pointmg to the nght immediately followmg the literal

element. In late 2012, Natures Investments abandoned the trademark application

           9.    On mformauon and behef. m or about 2012 or 2013, Natures Investments, domg

busmess as MaxRehef lJSA, Inc., began advert1smg a pam rehef spray under the stylized

rend1t10n that It had sought to have trademarked.

           10.   As a marketmg strategy to consumers m the Cmted States, Natures Investments

advertised its product by identifymg MaxRehef as "Australia's #l Pam Relief Spray, now

available in the USA." (Exh1b1t "B.'')

           11    Natures Investments' statement m its advertisement was explicitly false and

m1sleadmg because 1t explicitly stated that Natures Investments' product was Australia's #l pain

relief spray when it was not.     In fact, Natures Investments· product was not even sold m

Austraha.

           12    In July 2016, Pamaway brought an action agamst Natures Investments d/b/a

MaxRehef m the Umted States D1stnct Court for the Eastern D1stnct of Pennsylvama allegmg

v10lat1ons of the Lanham Act      On February 28, 2017, "'upon cons1derat10n of [Pamaway's]

Request for Entry of Default Judgment" and the "heanng held on February 27, 2017," the Court

entered a default 3udgment on behalf of Pamaway, and spec1fically enJomed   ~atures   Investments

from "advert1smg and promotmg MaxRehef as Austraha"s # I Pam Rehef Spray m the Umted

States" ("lnJunct10n Order") (Exh1b1t "C ")




5122'>44
                                                3
       Case 2:18-cv-03854-PBT Document 1 Filed 09/07/18 Page 4 of 26




        13     Although not entirely clear to Pamaway, 1t appears that at some time the entity

MaxRehef separated itself from ;o..;atures Investments

       14      Subsequent to the entry of the lnJunct10n Order, \1axRehef contmues to advertise

and promote its '.'viaxRehef product through vanous media platforms and medmms as

"Australia's #l" pam rehef spray and pam rehef cream. This mcludes media advertisement on

its website, as well as advertisement on Twitter, Amazon, ebay and other media platforms

These advertisements and promot10ns are false because they exphc1tly state that \1axRehef s

product 1s Australia's #l pain rehef spray and cream when 1t 1s not.         In fact, \1axRehefs

products are not even sold m Australia.

       15      Pamaway believes that 1t will lose sales m the Cmted States and elsewhere as a

d!fect result of the false and misleading claim made by MaxRehef that 1t 1s Australia's #I pam

relief spray and/or cream, and advertising Its product as such.

                                            Count I
                         Violation of Section 43(a) of the Lanham Act

       16      Pamaway hereby mcorporates by reference its precedmg allegat10ns as 1f fully set

forth at length herem

       17      lJnder 15 C.S.C § 1125, the Lanham Act provides m pertment part

               (I)    Any person who, on or m connection with any goods or services,
               or any contamer for goods, uses m commerce any word, term, name,
               symbol, or device, or any combmat10n thereof, or any false des1gnat10n of
               ongm, false or m1sleadmg descnpt10n of fact, or false or m1sleadmg
               representation of fact, which-

                     (A) 1s hkely to cause confusion, or to cause mistake, or to deceive as
                         to the affihat1on, connect10n, or associat10n of such person with
                         another person, or as to the ongm, sponsorship, or approval of
                         his or her goods, services, or commen.:ial act1v1t1es by another
                         person, or




                                                 4
        Case 2:18-cv-03854-PBT Document 1 Filed 09/07/18 Page 5 of 26




                     (B) m commercial advert1smg or promot10n, misrepresents the
                         nature, charactenst1cs, quaht1es, or geographic ongm of his or
                         her or another person's goods, services, or commercial actlv1t1es,
                         shall be hable m a c1v1l act10n by any person who believes that
                         he or she 1s or is hkely to be damaged by such act.

         18.   MaxRehef s false advertlsmg claims as descnbed above constitute false and

m1sleadmg descnpt1ons of fact m mterstate commercial advertismg and promot10n, which

matenally misrepresent its product, m v10lat10n of Sect10n 43(a) of the Lanham Act, 15 C.S.C §

l l 25(a).

         19.   MaxRehefs false and m1sleadmg advert1smg claims are willful and mtentlonal,

with deceptive mtent, makmg this an except10nal case.

         20.   MaxRehef s false and mislead mg claims have caused, and will continue to cause,

great, immediate, and meparable harm to Pamaway's busmess reputat10n, mJury to its goodwill,

and loss of competitive advantage

         WHEREFORE, Pamaway respectfully requests that this Court enter judgment m its favor

as follows.

               (a)     entenng a prehmmary and permanent mJunct10n agamst MaxRehef

preventmg it from advert1smg andior promotmg MaxRehef as Australia's #I pam rehef spray

and/or cream, or from advert1smg that 1t is the #I seller of any product m Australia;

               (b)     awardmg any further rehef that this Court deems appropnate, mcludmg

without hm1tat1on, financial compensation for any mJury suffered by Pamaway, together with

attorneys' fees and costs of smt; and




                                                 5
       Case 2:18-cv-03854-PBT Document 1 Filed 09/07/18 Page 6 of 26




              (c)     awardmg to Pamaway such other and further relief as this Court may deem

JUSt


Date: September 7, 20 I 8                  Respectfully submmed,


                                           ~)--
                                           Rigel C Farr(316869)
                                           OBFR\'1AYfR RIBMA~';\; MAXWELL & HIPPF.L LLP
                                           Centre Square West
                                           I 500 Market Street, Suite 3400
                                           Philadelphia, PA 19102
                                           215 665 3000 (p)
                                           215 665 3165 (f)
                                           mathreu shap1ro(~obermayer.com
                                           ngel.farr(~obermayer com


                                           Martm J O'Hara
                                           Much Shehst, P C
                                           191 ;-..lorth Wacker Dnve, Smte 1800
                                           Chicago, IL 60606
                                           Phone 312 .521 2725
                                           Fax 312 521.2825
                                           mohara(a}muchlaw com
                                           (pro hac vice motion forthcoming)

                                           Counsel for Pamaway Australza Pty Limzted
                                           AC/'•: 151146 977




                                              6
Case 2:18-cv-03854-PBT Document 1 Filed 09/07/18 Page 7 of 26




                Exhibit ''A''
Case 2:18-cv-03854-PBT Document 1 Filed 09/07/18 Page 8 of 26




      l '




      x




      "
                                                                                                            Case 2:18-cv-03854-PBT Document 1 Filed 09/07/18 Page 9 of 26




C   iii   '}~,· ""'<?   t·t~~~   '\.-...'\\rw.eba\; tom.,?       "l.11'-d,;K-K'.i·<'.fl.f ~1..,.s~r.._~·,..,,,   "' ~<l!~,., Rr:- <tr~t ·(.1~a'~"      }:.1 %1<•H"' /~rn,(;a ';t-.dr ·Ot!~r~?d f1.{r~ams../1              '?   i.S6S&e3q97

                                  H   tJf .,          ~<l1''1 :i~.;a1$


                                                                       Shop by•
                                                                               G   '1   C»i'<ft.       H~p&        C oi"-",ac·1             ll S1mp1i; Selli<JQ.
                                                                                                                                                   Su1'11t'i'Wi!rCash.
                                                                                                                                                          ""'7 """" ,,..,_,_,,,
                                                                                                                                                                                                                                                                                                                                                                               '3e1~           Mye&1'1
                                                                                                                                                                                                                                                                                                                                                                                                                               •                ~

                                                                       tategory                       SAmctJ f<)r ar~!t1h . .,g                                                                                                                                                                                                                  AfJ C.a:~g:ona$                                             Search                          A~::wv~QO




                                      <   Q.>?',.k: .. ~ h{ln'-!.' ;>:$9~     L<~t.:e., ,,. -U~JX,J-t··.         >'11;!,;ilh   ~ ew>.J'\,.} :> Skr" Wr-e ... ... ~l'l:t't'"P<P<lil c,~~n-·
                                                                                                                                                                                                                                                                                                                                                                                  • Ii fa m :Ad(.! to ""'"" lts:




                                                                                                                                                                                             MaxRehef Australia's 111 Pain Relief Cream 3X More Amica Than other
                                                                                                                                                                                                                                                                                                                                                            Shop with confidence
                                                                                                                                                                                             Pain Creams
                                                                                                                                                                                                            t.3-e   1h$ f~,..$~   fa V'."'"!t&   ;1. C'"--1~·W
                                                                                                                                                                                                                                                                                                                                                                     eBay Monev BacK CloolW'!oe
                                                                                                                                                                                                                                                                                                                                                           0         r'Ji.,.,~ (,",;:;i •U·r. ·, , ... ,., , ""i.e,..~-~ ~r
                                                                                                                                                                                                                                                                                                                                                                      >10•>">Wh,,~,,y          !&.ill:." ::.s_::2
                                                                                                                                                                                                                                                                                                                                                                                                                              "J*' "''"-''
                                                                                                                                                                                                      t -0ii-<:V1<;r           New
                                                                                                                                                                                                        ~4J,tt·y                                                 2 avaHatM1 / 3 wu1

                                                                                                                                                                                                                                                                                                                                                          Seller 1nforrnation
                                                                                                                                                                                                             r'«C!;)           US $27 ,(}()                                                                                                               tttm'lelldrn.J.%h0p ~l .)4 >                    '*   ~
                                                                                                                                                                                                                                                                                                                                                          ~cc w    PcS;f':P1e ff.:e.d'b:ack


                                                                                                                                                                                                                                                                                                                                                          <;:)   'SaVil '"us      Se1'"'
                                                                                                                                                                                                                                                                           O A.chi to watch ffal
                                                                                         MAX Relfcf).                                                                                                                                                                                                                                                     GOf'"l.tt~;t OOP~:?I




                                                                            ARNI CA
                                                                                                                                                                                                                                                                                                                                                          V<s•t store
                                                                                                                                                                                              Limited qu.or1111y rnmamlny                                    More thao 59% sokl                                 :?.O·day '"'"''~$
                                                                            t'c.t <1 !yp!u<.                     &       <:'fl'lJ        Qd
                                                                                                                                                                                                       !':h1pp10&              $22 SIS 1nteMat""'a1 ?ttonly :Smppt0910 Austtalta via tt'\e <l•o1>a1 Sh1PP!r'9
                                                                                                                                                                                                                               !?"OgraJti(l;~.
                                                                                                                                                                                                                               ~·«>il'.l~ Md~~·ltl¢"'l:.1..s>">!~t'.f:a.'!$-a
                                                                                                                                                                                                                               ~~;:>: t;!'!fi~~M-.Mf3•'>}$"<ti>l1'.w~k\>.U~~~


                                                                                                                                                                                                         '.:>$JW<lfY           Estlftlated between Set. J!.fll. 30 end Wed. Jul. 11                              ~
                                                                                                                                                                                                                               !nCl\JOOS ln!emaUonal tra~Klt1g

                                                                                                                                                                                                      Payrtl4t<tS:             flo~: ~!l~b



                                  -··-                                                                                                                                                                                         ~ iti.tM!'J.al'l'iOO«! &"'ifP?Wlfi ~~~ d"..:iu-;j$,a ¥* P~   m ~,a.-+'fu P'il:r'\*J gq."'" uio. .im!.:Jl.MJ?J.t
                                                                                                                                  Case 2:18-cv-03854-PBT Document 1 Filed 09/07/18 Page 10 of 26




                                             -
...,.,,;._.r'"'   ~-~re...::.   1.·V'.,"l\."'<lwal•"'1art<Ofrl...1 ~...~-? ... ~!'-'   ...   ~.A"" -1 ·'.;i-.» Wl'«-&f ».(;.<:h Ai."<:>tr..:>· ~"'                  • \,_H~,~€'-~·~. l11.tr,~ ~l?-,,'."k   K.r»e-e   ~(H{'tt '\1.~Js(·$~ µd~>l: ~i,;:;-J1,,A..;t>~ A·tf~t>t_t>;. .1v~1t !nfl.a,..•~2J";On·<-:i-(•{jtv.,;i ~·bfQtPy,a~t.p/->S.J~(?l?i:,



                                                                                                                                                        [ •      Search                                                                                                                          q    I                                                  Cl)fD<9G
                                              •-lr•,;; r       l\•'H,-"1; <;, ~e- ~·::I~ f'•f'~      ,.,_.,,,,.   i..?H'"t;" .... P•~ !'   Spec.Ja!ty   P,a;n   Rei 1e-vers                                                                                                                                                                                   f   <j)   'II

                                                                                                                                                                                                                                                    MaxRelief Arnica Pain Relief Spray - Australia's #1 - For
                                                                                                                                                                                                           0.
                                                                                                                                                                                                                                                   Sufferers of Back, Neck, Knee, Joint & Muscle Pain.
                                                                                                                                                                                                                                                    Reduces Arthritis & Joint Inflammation, Sciatica &
                                                                                                                                                                                                                                                    Fibromyalgia pain treatment. 4 oz
                                                                                                                                                                                                                                                                         ~;·v~:~e srgyig_...;   Ma.lfRe'!'•-ef   W3 mart ti Sl'670S69C



                                                                                                                                                                                                                                                   $18.37                    $4.601floz
                                                                                                                                                                                                                                                   Free sM.fppin-gor o~oe-r~ ')ver $3S
                                                                                                                                                                                                                                                   Arriv<>s by Sawrctav. ;un 23 QR.\:Qfil



                                                                                                                                                                                                                                                   ,;'ty




                                                                                                                                                  __              .,.
                                                                                                                                                                                                                                                            1     \.,.t1>~




                                                                                                                                                                                                                                                   P"(l:.v;i- ... v~ C"-'.:i·:t-:ib•e
                                                                                           Case 2:18-cv-03854-PBT Document 1 Filed 09/07/18 Page 11 of 26




c~   11!6   -;,.,,,,.~"''   "- 0   t>   VN<>\\l•·,;~l""Ji''tecu'I'\    ""   ~ .. t l~ <',fl ~,ri' .~... ~   .,,t   f        ;;.... ,3 6°·.' ~   ~'.}'"""~~·-·"'>        ~~<')· ~'.-·~~ Jn,:"·f h!h,11<··<) P-ae- ~t.'-d1,_,(J?;J·A"F'U'•H!5-·J.CH"'l:t ~frl\)•'·t""$~10/'<   S·   ~b·.1 .. L1,ro""ly<$<'ej,/1:<1)?~g1'1




                                                   ****'*                                            ****1             .9                                          ****          \.~                                                                                                                                      • * **      ·.!$

                                                   $7.99 ;\ ,,;        u                             $18.98 .,,.,,,,.,                                             $3 84 1.S.C~ .      01                            $18.90                                                  s12.oo $4 ev "''                             $12.48
                                                   2 d•Y •"!ppll'ljj                                 z d'>y <hipping                                               2·<l•y 'hlppln9                                                                                           2-<by '"'PPirtg                              1-d•y •liippln9

                                                                                                                                                                                                                       MaxRelief Amica Pain Relief Cream - Australia's #1 - For
                                                                                                                                                                                8.
                                                                                                                                                                                                                       Sufferers of Back, Neck, Knee, Joint & Muscle Pain.
                                                                                                                                                                                                                       Reduces Arthritis & Joint Inflammation, Sciatica &
                                                                                                                                                                                                                       Fibromyalgia pain treatment. 3.5 oz
                                                                                                                                                                                                                       **** ~ ~ °"V~·tr-0Ftn$667C$6BC

                                                                                                                                                                                                                      $19.85              $5.68• or
                                                                                                                                                                                                                      Fru shipping on orders over $35
                                                                                                                                                                                                                      Arrlvi\; by Saturday, Jun 23 Q~



                                                                                                                                                                                                                      Crt
                                                                                                                                                                                                                              lv


                                                                                                                                                                                                                      Pickup not ava>iab•e



                                                                                                                                                                                                                       ~:( So1c & ;h ppeo by Wa!·"i!l°t



                                                                                                                                                                                                                       =~                                  Cit;   ~gi.au
                       Case 2:18-cv-03854-PBT Document 1 Filed 09/07/18 Page 12 of 26




    fl(;, <1e-r ~O

    Phih:ieielph•a 190Hl                                           Your Atne.lon com
                                                                                                              £N
                                                                                                                   •
                                                                                                                        I   He '"   g,gn <r
                                                                                                                            Accoont & L.iSt1li •        Orders        Try ?rime     T
                                                                                                                                                                                             0

 Health & Personal Care          Household Supplies           Vitamins & Diet Supplements      Baby & Child Care       Health Care        Sports Nutrition     Sexual Wellness


                                                              ~
                                                              . \ ..\ s10
                                                                       /
                                                                          &         under with FREE shipping
Health & Household > t-lealtli Care > Med1cat1ons & Treatments > Pair R:ehevers        1   Rubs & Ointments



MaxRelief Amica Montana Pam Cream - Australian #1 - For                                                                Pnce    $19.85 ($6 621 ounce)
                                                                                                                               F Rf E Shipping on orders over $25 -0r get FREE Two-Day
Sufferers of Knee, Joint & Outback Muscle Pam Reduce
                                                                                                                               Shipping with Amazon Prime
                       455 customer reviews           26 answered quest10Ps
                                                                                                                       In Stock        Sold by Nature·s Natural and Fulfilled by Amazon G1ft-
 !...'"r>:~zon & Cho1c:e , for "arruc.a pain reoef creaM"
                                                                                                                   wrap available


                                                                                                                   Want it tomorrow, Sept 8? Order within 1 hr 5 mins and choose
                                                                                                                       Saturday Delivery at checkout Details


                                                                                                                       G    Yes, I want FREE Two-Day Shipping with Amazon Prime


                                                                                                                                     Deliver to Ph11ade1pt11a 19019

                                                                                                                               Qty                                    Tum   on   1-click ordering


                                                                                                                               r
                                                                                                                                                          Add to Cart


                                                                                                                                                          Add to List




                                                                                                                        Other Sellers on Amazon                                    2 new from $19 85


                                                                                                                                                  Share
  About the product
  • Temporarily relieve numbness and discomfort in back, neck. finger and rnuscies
    Excellent for Scta!Jc pain Temporarily relieve numbness and discomfort 1n back. neck,
    finger and muscles Support for Wrist and Lower Back pain
     3X limes the Maximum Arn1ca ingredients of other leading creams Maximum Strength
     compared to Arn.care Gel at 7%
                                                                                                                                                             Relieves muscle
                                                                                                                                                             pain and stiffness
     More
                                                                                                                                                             naturally
                                                                                                                                                             Boiron Arn1ca Montana 30C
                                                                                                                                                             Homeopathic Medicine for Pain Refief
                                                                                                                                                                            1,102
                                                                                                                                                             $11 .00 ,;prime

                                                                                                                                                                                          Ad feedback




Frequently bought together
                                                            Total pnce     $38 82
                                                             Add Ooth to Cart


                                                             Add botl'l to l ISt




    ..,,, This item MaxRehef Arn1ca Montana Pain Cream · Austra-oan #1                 for Sufferers of Knee Joint & Outback Muscle              $19 85 ($6 62 'ounceJ
            Case 2:18-cv-03854-PBT Document 1 Filed 09/07/18 Page 13 of 26




                             Exhibit ''B''




'.'322556
              Case 2:18-cv-03854-PBT Document 1 Filed 09/07/18 Page 14 of 26
    :vlax Reliefr.M Official Site: Amica Pain Relief Cream & Spray           Page I of 8




                                         100% Natural Ingredients


                           (https://maxrelief.us)

              Australia's #1 Pain Relief Spray and Cream Now Available in the USA!




                                                       Ill

                                                       I
                                           roducts
                                                                    ' MAXRelief)                     1
                                                                                                     1
                                                                    ARNICA~
                                                                    i,, .1lyptus     &    emu1
                                                                    :!l.!'\J RE U EF SPRA~
                                                                        '"'''Nunp{,JfQtyttUt!d
l
I                                                                      bac~, M<k & rnu$C!il p;im
                                                                     "lhm,s & jo1nt lnf111rnri@1#'




    https./lmaxrdief.us/                                                                                 6/27/2016
       Case 2:18-cv-03854-PBT Document 1 Filed 09/07/18 Page 15 of 26
Max Relief™ Official Site: Amica Pam Relief Cream & Spray             Page 2 of 8




                                MaxRelief
      Get effective pain relief from the only pain relieving formula that combines
        Amica and Emu oil. With 3 times the Amica of other leading products,
    MaxRelief quickly soothes sore joints and muscles, providing temporary pain
     relief and increased flexibility. MaxRelief uses proven, all-natural ingredients
       to ease the pain associated with arthritis, bruises, strain or overuse. And
      because it contains camphor, blood flow increases to the affected area to
                                    promote healing.


           100% Natural Ingredients

           Fast-Acting

           Soothing Warmth

           3 Times the Amica of Other Leading Products

           Only Product with Amica and Emu Oil

           No Menthol. Camphor As The Active Ingredient

                          r



                          I
                          I
                          I
                               Buy Now (products)




https·//maxrehcf.us/                                                             612712016
       Case 2:18-cv-03854-PBT Document 1 Filed 09/07/18 Page 16 of 26
Max RehefIM Official Site: Armca Pain Relief Cream & Spray            Page 3of8




             A Safe and Effective,
           Natural Alternative for Pain
                      Relief




           MaxRelief has developed a fast, powerful pain relief therapy to help
         ease the everyday aches and pains that keep you from enjoying life to
                                             the fullest.




           Use MaxRelief spray and cream to relieve sore muscles and aching
                        joints to get back to doing the things you love to do:




                 We stand behind our products and
                   guarantee your satisfaction!


https.//maxrehef. us/                                                             6/27/2016
         Case 2:18-cv-03854-PBT Document 1 Filed 09/07/18 Page 17 of 26
Max ReliefJM Official Site: Amica Pain Relief Cream & Spray               Page 4of8




https.1/maxrelief.us/                                                      6/2712016
         Case 2:18-cv-03854-PBT Document 1 Filed 09/07/18 Page 18 of 26
Max ReliefTM Official Site. Amica Pain Relief Cream & Spray               Page S of 8



             Please select a product to learn more.




https://maxrelief.us/                                                      6/27/2016
            Case 2:18-cv-03854-PBT Document 1 Filed 09/07/18 Page 19 of 26
    !\fax ReliefTM Official Site: Amica Pain Relief Cream & Spray            Page 6of8




f




                                      MaxRelief Pain Relief Spray
                                    Maximum Relief for Aching Joints and
                                     Sore Muscles is Just a Spray Away.



                                                         View
                                         (https://maxrelief.us/maxrelie
                                                        spray/)
                                              Buy (/?add-to-
                                                cart=140)




    https://maxrelief.us/                                                    6/27/2016
       Case 2:18-cv-03854-PBT Document 1 Filed 09/07/18 Page 20 of 26
Max ReliefTM Official Site: Amica Pain Relief Cream & Spray           Page 7of8




                              MaxRelief Pain Relief Cream
                            Get Penetrating Pam Relief   in   a Soothing
                                            Cream



                                                    View
                                 (https://maxrelief.us/maxrelie
                                                cream/)
                                      Buy (/?add-to-
                                         cart= 126)




                        Media (https://maxrelief.us/media/)
        Terms and Conditions (https://maxrelief.us/terms-and-conditions/)




https.//maxrelief.us/                                                       6/2712016
        Case 2:18-cv-03854-PBT Document 1 Filed 09/07/18 Page 21 of 26
Max ReliefIM Official Site: Amica Pain Relief Cream & Spray                       Page 8 of 8



         Shipping Information (https://maxrelief.us/shipping-information/)
                          Contact (https://maxrelief.us/contact/)

                          ._ (https://twitter.com/MaxReliefUSA)
           f (https://www.facebook.com/pages/Maxrelief/639722299421347)
                                  Copyright 2015 MaxRelief. All Rights Reserved




https://maxrehef.us/                                                              6127/2016
            Case 2:18-cv-03854-PBT Document 1 Filed 09/07/18 Page 22 of 26




                             Exhibit ''C''




'>lc2:is6
        Case 2:18-cv-03854-PBT Document 1 Filed 09/07/18 Page 23 of 26
            Case 2 16-cv-03627-CMR Document 19 Filed 02/28/17 Page 1 of 1


                        IN THE t;NITED ST A TES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
-   -   - - - - - - - - - --               --
PAINAWAY AUSTRALIA PTY LTD,
     Plaintiff,
                v.                                    CIVIL ACTION NO. 16-3627

NATT:RES INVESTMENTS HOLDING
PTY LTD, d/bla '.\1AXRelief (;SA,
     Defendant.
---- -----------
                                    ORDER AND Jt:DG'.\1ENT

        AND NOW, this 28th day of February 2017, upon cons1derat10n of the Request for Entry

of Default Judgment [Doc No. 4], and for the reasons stated on the record at the heanng held on

February 27, 2017, 1t ts hereby ORDERED as follows:

        I. Defendant    ~atures   Investments Holdmg Pty Ltd d/b/a MAXRehef USA, ts hereby

             ENJOINED from advert1smg and promotmg MAXRelief as "Australia's #l Pam

             Rehef Spray" m the United States;

        2. Plamt1ff shall be reimbursed attorneys' fees and costs m the amount of$1 l,004.59, as

             detailed m the declarattons of Rigel C. Farr, Esquire and Ylartm J. O'Hara, Esqmre

             [Doc '.\Ios. 17, 18]; and

        3    The Clerk of Court 1s dnected to CLOSE this case

        IT IS SO ORDERED.


                                                BY THE COURT:

                                                Isl Cynthia M. Rufe

                                                CYNTHIA '.\1. RUFE, J.
              A/                     Case 2:18-cv-03854-PBT Document 1 Filed 09/07/18 Page 24 of 26
                                                                ,,_1
'.:~,::,:::.~ .}3dL"~"" ~··"'-·~.~~.~.:.~::!~~,:,~~ =(fg~, ~.2?i~., . . ~~,. .
provided by local ru!es of court This fonn, approved by the Judicial Conference of the Umted States m September I 974, 1s required for the use of the Clerk of Court for the
purpose of1m!latmg the CIVIi docket sheet (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)
 I. (a) PLAINTIFFS                                                                                                                          DEFENDANTS
 Pamaway Australia Pty Limited ACN 151 14                                                                                                 MaxRelief USA. Inc.

     (b) County of Residence of flfSt Listed Plarn!I£                                                                                       Count~ of Residence of Flfst Listed Defenda
                                            (EXCEPT IN(; S PLAIN 1FF CASES;                                                                                                     ONUS PLAINTIFF                 SES ONLY)
                                                                                                                                            NOTE          JN LAND CONDEMNATION CA
                                                                                                                                                          THE TRACT OF LAND l'WOL V D


 M~fKiefrt~r~~~MfiVd', ~f§'ef 'er'f"a'fll.d Teleph                         e N•mber
                                                                                                                                             Attorneys (If Known)
 Obermayer Rebmann Maxwell &H1ppel              entre Square West. 1500
 Market Street. Suite 3400, Philadelphia. PA. 215-665-3000

 II. BASIS OF JU                                              (Place an ''X" zn One Box Only)                             III. CITIZENSHIP OF PRINCIPAL PARTIES mace an                                                    "X' 1n OneBoxforPtaznriff
                                                                                                                                     (For Diversity Cases Only)                                                    and One Box for Defendant)
CJ I      t; S. Government                                                                                                                                    PTF                  DEF                                             PTF     DEF
              Plamnff                                         (US Government Not a Party)                                       Citizen of This State         0 1                  CJ I        lncorporat~d or Pnnc1pal Place       CJ 4    CJ 4
                                                                                                                                                                                                 of Busmess In This State

CJ 2      I: S Government                                  Diversity                                                            C1tuen of Another State                 rJ 2        CJ    2    Incorporated and Principal Place                  CJ5         CJ5
              Defendant                                      (/ndtcme Cm=ensh1p of Parues In Item Ill)                                                                                            of Busmess In Another State

                                                                                                                                Citizen or Subject of a                 CJ 3        ::J 3      Foreign Nauon                                     CJ 6        0 6
                                                                                                                                  Foret o Coun
IV. NATURE OF Sl!ITrPiacean                                   "X"mOneBoxOnlyJ                                                                                                        Chck here for         1\;a1urc:- O!_ Seit   Code Descri )f•On~
              CONTRACT                                                  TORTS                                                      FORFEITt;RE/PK ALTY                                   BANKRUPTCY                              OTHERSTATL'TES
"J l l 0 Insurance                                  PERSONAL INJt.:RY                       PERSONAL INJLRY                     CJ 625 Drug Related Seizure                  CJ 422 Appeal 28 t:SC 158                              CJ 375 False Clalllls Act
'.J 120 Manne                                               r:J
                                                    310 Arrplane                        0 365 Personal Injury ·                        of Property 21 t;SC 88!               0 423 Withdrawal                                       CJ 376 Qui Tam (31 \;SC
CJ 130 Miller Act                                           CJ
                                                    315 Arrplane Product                        Product Liabthty                CJ 690 Other                                        28 USC i 57                                             l 729Ca))
CJ 140 Negotiable Instrument                             L 1abthty                      CJ 367 Health Care/                                                                                h-,,=======:----10 400 State Reapport10nment
CJ 150 Recovery of Overpayment                      320 Assault. Libel &
                                                            CJ                                  Phannaceuttcal                                                                             1-,--'-£»<"'-".WL.L....,,.,......,..._--ICJ 410 Antttrust
         & f.nforcement of Judgment                      Slander                                Personal lnJury                                                                                                                     CJ 430 Banks and Banlung
::J 151 Medicare Act                                         CJ
                                                    330 federal Employers"                      Productliabihty                                                                                                                     CJ 450 Coimnerce
::J 152 Recovery of Defaulted                            Liability                      CJ 368 Asbestos Personal                                                                            CJ 835 Patent. Abbreviated              CJ 460 Deportauon
         Student Loans                                      CJ
                                                    340 Marme                                   ln;ury Product                                                                                      New Drug Apphcauon              CJ 4 70 Racketeer Influenced and
         (l.xdudes Veterans)                                 CJ
                                                    345 Marme Product                            L1ab1hty                                                                                   ::J 840 Trademark                               Corrupt Organuauons
CJ 15 3 Recovery of Overpayment                          Liabihty                          PERSONAL PROPERTY                                          1-----'L!<A"-lo!B=R~----+--"s=.,l..:AuL"'S>?;E~C:..><co:R>i.IT~Y-_;-lCJ 480 Consumer Credit
         of Veteran -s Benefits                             CJ
                                                    350 Motor Vehicle                   0 370 Other fraud                                              CJ 710 Farr Labor Standards          r:J 861 HIA (l 395ft)                           Cable/Sat TV
'-! 160 Stockholders' Suits                                 r:J
                                                    355 Motor Vehicle                   ::J 371 Truth m Lendmg                                                    Act                       CJ 862 Black Lung (923)
:::J 190 Other Contract                                 Product Ltabthty                ::J 380 Other Personal                                         ::J 720 Labor/Management             0 863 DIWC/DIWW (405('                          Exchange
r:J 195 Contract Product Liab1hty                           CJ
                                                    360 Other Personal                          Property Damage                                                   Relattons                 CJ 864 SSID Tttle XVI                      890 Other Statutory Actions
::J 196 franchise                                       Injury                          ::J 385 Property Damage                                         CJ 740 Railway Labor Act            ::J 865 RSI (405(g))                       891 Agncultural Acts
                                                            CJ
                                                    362 Personal Injury .                       Product Ltabwty                                        CJ 751 famJy and Medical                                                        893 Envtromnental Matters
                                                        Medical Mal racuce                                                                                        Leave Act                                                            895 Freedom of lnfonnation
,___ _R..,.E"'A""L"""-PR:.:0....._PE"'R:.:..:..TY..__-+--'C"'I'""V"'IL:;.;;,;RI""G""'H:.:.'"'fS.__-+_,,P"'R"'IS""O"'N"'E""R....:..P"'E""Tl"'T-.IO=N-.S-t::J 790 Other Labor Lmgauon                                                         Act
 CJ 210 Land Condemnauon                                    0 440 Other Civil Rights                             Habeas Corpus:                        CJ 791 Employee Reurement            CJ 870 Taxes (US P
 CJ 220 foreclosure                                         r:J 441 Vottng                                  r:J 46.3 Aheo Detamee                                Income Secunty Act                                                 CJ 899 Admm1stra1Jve Procedure
 CJ 230 Rent Lease & E1ectment                              ::J 442 Employment                              ::J 510 f\,Jouons to Vacate                                                                                                     Act/Revtew or Appeal of
 '-! 240 Torts to Land                                      ::J 44 3 Housmgf                                         Sentence                                                                                                               Agency Decision
 r:J 245 Tort Product Liabthty                                          Accouunodauons                      CJ 530 General                                                                                                          CJ 950 C onstttuuonahty of
 r:J 290 All Other Real Property                            CJ 445 Amer w/Disabllmes · ::J 535 Death Penalty                                                      IMMIGRATION                                                               State Statutes
                                                                        Employment                              Other:                                  :::J 462 Naturalization Apphoatton
                                                            CJ 446 Amer w/D1sab1hties · r:J 540 Mandamus & Other                                       CJ 465 Other Imm1granon
                                                                       01her                                CJ 550 Ctv1l Rtgl1ts                                 A.ctmns
                                                            r:J 448 Education                               r:J 555 Pnson Condmon
                                                                                                            r:J 560 C 1vtl Detamee ·
                                                                                                                     Conditions of
                                                                                                                     Confinement

           RIGl!'I       {PJacean      ·x    mOneBoxOn/y)
             ngmal               ::::J 2 Removed from                     n      3    Remanded from                     n   4   Reinstated or           ::::J 5 I ransferred from              n    6 Muludistnct                     :'."J 8 Mult1d1stnct
            roceedmg                     State Court                                  Appe:Jate Court                           Reopened                        Another Distnct                       Lll1gatmn ·                             L 1tigatmn ·
                                                                                                                                                                 (specify;                            Transfer                                Direct File
                                                      Cite the IJ S C1v1J Statute under which you are fihng                          (Do not c1tefurisdictio11a/ statutes unless diversity)
                                                       15   us c              1125
                                                      Bnef descr iptmn of cause
                                                       V1olat1on of Section 43 of the Lanham Act
   . REQUESTED IN     ::J CHECK IF THIS IS A CLASS ACTION                                                                           DEMANDS                                                CHECK YES only if de anded n complamt
     C0\1PLAINT:           L'NDER RULE 23, FR Cv P                                                                                                                                         JURY DEMA,"ID:       :'."J Yes '.":I No
VIII. RELATED CASE(S)
                         (See instruc lions)
      IF ANY                                 JUDGB                                                                                                                               DOCKh'T Nt;MBER
DA.Tl
               'i/1/1.t>l&
 FOR OFFICE USE 01"LY

    RECEIPT#                                AMOCNT                                               APPL YING IFP                                               Jt;DGE                                      MAG Jt;DGE
                        Case 2:18-cv-03854-PBT Document 1 Filed 09/07/18 Page 25 of 26
                                                                UNITED STATES DISTRICT COURT
                                                          FOR THE EASTERN DISTRICT OF PENNSYLVA."'llA

                                                                              DESIGNATION FORM
                        (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: Painaway Australia Pty Limited, Level 17, 175 Pitt Sydney, NSW, Australia
Address of Defendant:     MaxRelief USA, Inc., 131 Fairfax Street, Denver, Colorado, 80220
                                                                                                                                                                     ----
Place of Accident, Incident or Transaction: _ _ _ _ _ _ _ _ _ _ _ _P_e_n_n_s_y_lv_a_n_i_a_____________



RELATED CASE, IF ANY:

Case Number;                                                        Judge: _ _ _ __                                             Date Terminated:

CJVil cases are deemed related when Yes is answered to any of the following questions:

I.     Is this case related to property included in an earlier numbered suit pendmg or withm one year                              YesD                   No~
       previously terminated action in this court?

2.     Does this case mvolve the same issue of fact or grow out of the same transaction as a pnor suit                             YesD                   No~
       pendmg or withm one year prev10usly terminated action m this court?

3.     Does this case mvolve the validity or mfrmgement of a patent already m suit or any earlier                                  YesO                   No~
       numbered case pendmg or w1thm one year preV1ously terminated action of this court?

4.     Is this case a second or successive habeas corpus, s                                                                        YesO                   No~
       case filed by the same indlVldual?

I certify that, to my knowledge, the withm case                                     related to any case now pending or withm one year previously termmated action m
this court except as noted above.

DATE          '\/7/~0_ff)_ _ _ _ __                                                                                                                316869
                                                                                                                                              Attorney ID # (if applicable)


CIVIL: (Place a ..,/ in one category only)

A.           Federol Question Coses:                                                           B.    Diversity Jurisdiction Coses:

D            Indemnity Contract, Manne Contract, and All Other Contracts                       D !.        Insurance Contract and Other Contracts
D            FELA                                                                              D 2.        Airplane Personal Injury
D            Jones Act-Personal Injury                                                         D 3.        Assault, Defamation
D            Antitrust                                                                         D 4.        Manne Personal Injury
                                                                                               D 5.
B
D
             Patent
             Labor-Management Relations
             ClVll Rights
                                                                                               D 6.
                                                                                               D 7.
                                                                                                           Motor Vehicle Personal Injury
                                                                                                           Other Personal Injury (Please specify) - - - - - - -
                                                                                                           Products Liab1hty
             Habeas Corpus                                                                     D s.        Products Liability - Asbestos
             Secunties Act(s) Cases                                                            D 9.        All other Diversity Cases
             Social Secunty Review Cases                                                                   (Please specify) _ _ __ _ _ _ _ _ __
             All other Federal Question Cases
             (Please specify) _   Lanha.!11Act,15 U.S .§__1~25(a) s; .

                                                                                ARBITRATION CERTIFICATION
                                                      (The effect of this certification is to remove the case from eligibility for arbitration)

                      Ri 9eI C · Farr ---~ counsel ofrecord or pro se plamurr, do hereby certify
             Pursuant to Local Civil Rule 53 .2, § 3(c) (2), that to the best of my knowledge and behef, the damages recoverable m this civil act10n case
             exceed the sum ofS 150,000.00 exclusive of interest and costs·


                                                                                                                                                    ~
                   elief other than monetary damages 1s sought.


         _<r/1/2018                                              -azt.£:/3::;;;::;                                                                 316869
                                                                                                                                              Attorney ID # (if applicable)

NOTE. A tnal de novo will be a trial by jury only if there has been comp!J.ance with F.R.CP. 38.
                                                                                                                                                          SEP -)
Civ 609 (512018)
     Case 2:18-cv-03854-PBT Document 1 Filed 09/07/18 Page 26 of 26

                        IN THE UNITED ST ATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                    CASE MANAGEMENT TRACK DESIG~ATION FORM
   Painaway Avs-tr4 fi«. 'Pty   Lim+ed                                      CIVIL ACTION
    AcN ti;'l' l4tP ctl7


                                                                                      /~ ~v ~8s1
                       v.
                                                                            NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filmg the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE                   MA~AGEMENT         TRACKS:

(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                            ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                 ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.       )

(d) Asbestos - Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                          ( )

(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)

(t) Standard Management - Cases that do not fall into any one of the other tracks.


    ,/1/lO/b
Date                              f\ttorney-at-law                     Attorney for
                                '2..Li:;- fJC.? - ~It;;             rlj e.l. farr@cbei-rnayer. c.ont
Telephone                          FAX Number                          E-Mail Address


(Civ. 660) 10/02




                                                                                       srP - 7 2018
